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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BEFORE: JAMES M. WICKS, U.S. MAGISTRATE JUDGE                                 DATE: 03/07/2024
                                                                              TIME: 10:00 AM
                                                                         ☐ SEALED PROCEEDING

                   CIVIL CAUSE FOR PRE-MOTION CONFERENCE
       CASE: 2:23-cv-01668-JMA-JMW-Winters v. Phountain PH Holdings Corp. et al.

APPEARANCES:

      For Plaintiff:                                       Joshua Mathew Friedman

      Defendant (Phountain PH Holdings Corp.):             No Appearance

      For Defendant (Patrick Cooley):                      Cory H. Morris

Court Reporter/FTR:                                        10:00-10:18 (Video)

THE FOLLOWING RULINGS WERE MADE:

☒     Pre-motion conference held on Defendant’s anticipated Motion to Dismiss (ECF No. [19]) and
      Defendant’s Motion to Dismiss Defendant Phountain PH Holdings Corp.’s (“Phountain”) cross-
      claims (ECF No. [21]). Discussion was held on the anticipated motions.
☒     On or before March 15, 2024, Counsel for Cooley shall file a letter advising whether he intends
      to move forward on the motion to dismiss or interpose and answer with the intention of later
      moving for summary judgment.
☒     The Court has determined that Phountain is in default, given that it failed to appear through
      counsel by February 19, 2024 (ECF No. [40]) as it is required to do. Accordingly, on or before
      March 15, 2024, Counsel for Plaintiff shall request that the Clerk of the Court enter default as to
      Phountain.
☒     Defendant Cooley’s anticipated motion to dismiss the cross-claims (ECF No. [21]) is deemed
      withdrawn without prejudice until default is entered against Phountain. Following the entry of
      default, Counsel for Cooley may renew his motion to dismiss the cross-claims based on the
      default. In addition, Counsel for Cooley raised a question regarding the prior motion for
      sanctions against Phountain (ECF Nos. [34] and [36]), however that motion was denied without
      prejudice (ECF No. [40]). To the extent sanctions are sought against Phountain, they may
      include this request for relief in their respective motions for default judgment and to dismiss the
      cross-claims.

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☒    Per the Hon. Joan M. Azrack’s Electronic Order referring all dispositive motions (see Electronic
     Order dated Feb. 20, 2024), any future dispositive motions shall be addressed to the undersigned.




                                                 SO ORDERED
                                                  /s/James M. Wicks
                                                 JAMES M. WICKS
                                                 United States Magistrate Judge




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